Case 2:05-mj-00119-CSC Document 3 Filed 10/03/2005 Pagei ofi
Ao 93 (Rev. 5/35) search warrant (FAcsiMiLE)

 

 

 

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INVENTORY OF PERSON OR PROPERTY TAKEN PURSUANT TO THE WARRANT

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CERT|F|CAT|ON

 

| swear that this inventory is a true and detailed account of the person or property taken by me on the warrant.
(@`i> /{/\\,
Subscribed, sworn to, and returned before me this date.

3 zwo’
/p.'$. Judge or Magistrate Date

 

 

 

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